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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION        )                 MDL NO. 2804
OPIATE LITIGATION                   )
                                    )                 Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:           )
                                    )                 JUDGE DAN AARON POLSTER
Track Eight: Cobb County, Georgia   )
Case No. 1:18-op-45817-DAP          )
                                    )
Cobb County,                        )
                                    )
              Plaintiff,            )
                                    )
       v.                           )
                                    )
Purdue Pharma, L.P., et al.,        )
                                    )
              Defendants.           )
____________________________________)


    NOTICE OF FILING REDACTED/UNREDACTED VERSIONS OF PLAINTIFF COBB
      COUNTY’S APRIL 26, 2024 MEMORANDUM IN SUPPORT OF MOTION FOR
            PARTIAL SUMMARY JUDGMENT AND EXHIBITS THERETO

        The Plaintiffs’ Executive Committee (“PEC”) hereby provides notice of, and files into the

public record, un-redacted versions of Plaintiff Cobb County’s April 26, 2024 Memorandum in

Support of its Motion for Partial Summary Judgment that Publix Super Markets, Inc. Breached its

Duties under the Controlled Substances Act and the Georgia Controlled Substances Act, 1 and

exhibits 1-7, and 10-56 attached thereto, along with redacted versions of exhibits 8, 9 & 57 attached

thereto, as follows:




1
 On April 26, 2024, Plaintiff Cobb County filed its motion for partial summary judgment, see dkt.
no. 5416, and its notice of service of its supporting memorandum and exhibits 1-57 attached
thereto. See dkt. nos. 5417, 5417-1, and 5417-2. The instant notice of filing redacted/unredacted
versions relates to those filings.
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        Exhibit 8: 5/29/2019 K. Leonard email attaching Pharmacy FL Retail Job aid; Order
        Discrepancy Flow Chart (P-01381, PUBLIX-MDLT8-00132823-863) with redactions to
        PDF pages 7-17 and 22-23;

        Exhibit 9: 2/3/2017 email from L. Shoemaker with attached 2/11/2017 Pharmacy Hours
        Forecast (P-01380, PUBLIX-MDLT8-00115539-40), redacting the one column
        (“Forecasted Rx Items”) on PDF pages 4-45;

        Exhibit 57: Dr. Sadler Rx Fills (P-01350a, PUBLIX-MDLT8-00071320) with redactions
        to the entirety of columns M, N, AA and AI in both (GA and Cobb) tabs on the
        spreadsheet.

        As a result of the PEC’s confidentiality challenges, meet and confers between Publix and

the PEC, and confirmation from Special Master Cohen regarding the validity of the above

redactions, 2 the attached April 26, 2024 Memorandum in Support of its Motion for Partial Summary

Judgment that Publix Super Markets, Inc. Breached its Duties under the Controlled Substances Act

and the Georgia Controlled Substances Act, and exhibits 1-7, and 10-56 can be and are hereby filed

publicly without redactions, and exhibits 8, 9 & 57 can be and are hereby filed publicly with

redactions as described above.

Dated: May 13, 2024                                 Respectfully submitted,

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2
 On May 10.2024, Special Master Cohen confirmed (via email) that the joint proposed redactions
as outlined herein were approved and that Cobb County’s April 26, 2024 motion for partial
summary judgment (including the memorandum in support and exhibits related thereto) could be
filed on the docket with only the redactions to exhibits 8, 9 and 57, as set forth herein.
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                                                 Plaintiffs’ Liaison Counsel


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 13th day of May, 2024, I have electronically filed the
foregoing with the Clerk of Court using the CM/ECF System. Copies will be served upon counsel
of record by, and may be obtained through, the Court’s CM/ECF System.

                                                 s/Peter H. Weinberger
                                                 Peter H. Weinberger
